                      THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


MISCELLANEOUS WAREHOUSEMEN’S           )
LOCAL 781 HEALTH AND WELFARE           )
FUND,                                  )
                        Plaintiff,     )
                                       )
         v.                            )                No. 09CV2731
                                       )
NEMETH GLASS, INC., an Illinois Corp., )                Judge Hibbler
                                       )
                            Defendant. )                Mag. Judge Nolan
                                       )
GLENVIEW STATE BANK,                   )
                                       )
                Garnishee Defendant. )



            MOTION FOR JUDGMENT ON GARNISHMENT ANSWER

       NOW COME the Plaintiff, MISCELLANEOUS WAREHOUSEMEN’S LOCAL 781
HEALTH AND WELFARE FUND, by and through their Attorney, Robert B. Greenberg,
and move this Honorable Court to enter judgment in the amount of $1,313.07 in favor of
Plaintiff and against Garnishee Defendant, GLENVIEW STATE BANK, pursuant to
Garnishee's answer to Plaintiff’s garnishment, attached hereto as Exhibit 1, and further to
order Garnishee Defendant to pay Plaintiff the monies due hereunder within ten days from
the date of the Court's Order.


                                          /s/ Robert B. Greenberg
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Dated: October 8, 2009
